     Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 1 of 28




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, STATE OF
ARKANSAS, STATE OF CALIFORNIA, STATE
OF FLORIDA, STATE OF GEORGIA, STATE OF
INDIANA, COMMONWEALTH OF KENTUCKY,         Case No. 1:20-cv-03010-APM
STATE OF LOUISIANA, STATE OF MICHIGAN,
STATE OF MISSISSIPPI, STATE OF MISSOURI,
STATE OF MONTANA, STATE OF SOUTH
                                           HON. AMIT P. MEHTA
CAROLINA, STATE OF TEXAS, AND STATE
OF WISCONSIN,                              FILED UNDER SEAL

                        Plaintiffs,

v.

GOOGLE LLC,

                        Defendant.




STATE OF COLORADO, STATE OF
NEBRASKA, STATE OF ARIZONA, STATE
OF IOWA, STATE OF NEW YORK, STATE
OF NORTH CAROLINA, STATE OF
TENNESSEE, STATE OF UTAH, STATE OF
ALASKA, STATE OF CONNECTICUT,
STATE OF DELAWARE, DISTRICT OF
COLUMBIA, TERRITORY OF GUAM,               Case No. 1:20-cv-03715-APM
STATE OF HAWAII, STATE OF ILLINOIS,
STATE OF KANSAS, STATE OF MAINE,           HON. AMIT P. MEHTA
STATE OF MARYLAND,
COMMONWEALTH OF MASSACHUSETTS,             FILED UNDER SEAL
STATE OF MINNESOTA, STATE OF
NEVADA, STATE OF NEW HAMPSHIRE,
STATE OF NEW JERSEY, STATE OF NEW
MEXICO, STATE OF NORTH DAKOTA,
STATE OF OHIO, STATE OF OKLAHOMA,
STATE OF OREGON, COMMONWEALTH
OF PENNSYLVANIA, COMMONWEALTH
OF PUERTO RICO, STATE OF RHODE
ISLAND, STATE OF SOUTH DAKOTA,
STATE OF VERMONT, COMMONWEALTH
OF VIRGINIA, STATE OF
       Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 2 of 28




 WASHINGTON,STATE OF WEST

 VIRGINIA, AND STATE OF WYOMING,
                       Plaintiffs,



 v.

 GOOGLE LLC,


                               Defendant.




      PLAINTIFFS’ NOTICE OF PUBLIC FILING OF EXHIBITS IN SUPPORT OF
        PLAINTIFFS’ OPPOSITION TO GOOGLE’S SUMMARY JUDGMENT

       Plaintiffs submit the attached Public Redacted versions of exhibits to Plaintiffs’

Memorandum in Opposition to Google’s Motion for Summary Judgment (ECF Nos. 476–483,

errata at ECF No. 492), including Plaintiffs’ Statement of Genuine Issues (ECF No. 492-1) and

the Counterstatement of Material Facts (ECF No. 492-3).




 Dated: March 13, 2023                           Respectfully submitted,


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                                                2
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 3 of 28




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                               3
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 4 of 28




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                               4
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 5 of 28




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                               5
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 6 of 28




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                               6
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 7 of 28




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                               7
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 8 of 28




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                               8
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 9 of 28




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                               9
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 10 of 28




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                               10
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                               11
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 12 of 28




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                               12
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 13 of 28




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                               13
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 14 of 28




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                               14
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 15 of 28




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                               15
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 16 of 28




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                               16
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 17 of 28




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                               17
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 18 of 28




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                               18
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 19 of 28




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                               19
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                               20
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 21 of 28




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                               21
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 22 of 28




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Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 24 of 28




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                               24
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 25 of 28




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                               25
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                               26
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 27 of 28




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                               27
Case 1:20-cv-03010-APM Document 544 Filed 03/13/23 Page 28 of 28




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                               28
